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AO 451 '(Rev. 12/12) Clerk's Certification of a Judgment to be Registered in Another District


                                         UNITED STATES DISTRICT COURT
                                                                            for the



                    Yitzchok Rokowsky                                           ~          / ~'~ ~ f g J              l3
                             Plaintiff                                         )
                       v.                                                      )                Civil Action No. 13:15-cv-2059
        Sungames Corp. and Neil Chandran,                                      ~
                            Defendant



        CLERK'S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT


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        I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.


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                              UNITEll STATES DISTRICT COURT
                                 llISTRICT OF NEW JERSEY


 YITZCHOK ROKOWSKY,
                                                          Civil Action No. 15-2059(FLW)(LHG)
                              Plaintiff,
                                                                       ORDER
       v.

 SUNGAME CORP., et al.,

                              Defendants.


        THIS MATTER having been opened to this Court by Plaintiff Yitzchok Rokowsky

("Plaintiff') on two separate Motions for Default Judgment against Defendants Nei] Chandran

("Chandran") and Sungame Corporation ("Sungame"); it appearing that default was entered

 against Chandran and Sungame on May 29, 2015 for failure to appear or otherwise defend; it

 appearing that service of a notice of an application for default is not required unless the party has

"appeared personally or by a representative"; it further appearing that tt~e Motions are unopposed;

having considered Plaintiff's submissions, the Court makes the following findings:

     1. To obtain a defaultjudgment pursuant to Fed. R. Civ. P. 55(b)(2), a litigant must first obtain

        an entry of default from the clerk of the court pursuant to Fed. R. Civ. P. 55(a). Once this

        procedural hurdle has been   1Y?P.t !r ?': V~/lt~lin t~P ~~crrati~r of this ~~i~•-t ~ ~~h~t~Pr ~n ~p~~~+



        motion for a default judgment. Chamberlain v. Giampapa, 210 F.3d 154, 164 (3d Cir.

        2000). Moreover, when a defendant is in default, the Court treats all pleadings and

        allegations of the plaintiff as true. See Comdvne 1, Inc. v. Corbin, 908 F.2d 1142, 1 l 49(3d

        Cir.1990). However, even after properly following the requirements of Rule 55, parties

        are not entitled to defaultjudgment as ofright and it is left to the "sound judicial discretion"

        of the Co~irt. Hritz v. Woma Cori., 732 F.2d 1178, 1 180(3d Cir.1984).
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   2. On March 23, 2015, Plaintiff brought this action against Chandran and Sungame, as well

      as Defendants JP Morgan Chase & Co.("Chase") and Robert Kloihoffer ("Kloihoffer")

      As to Chandran, Sungame, and Kloihoffer, the Complaint asserts the following causes of

      action: Count 1, violation of the New Jersey Consumer Fraud Act, N.J. Stat. Ann. 56:8-1

      et seq.; Count 2, common law fraud; Count 3, theft; Count 4, contraction violation; and

      Count 7, securities violation.

   3. Thy ~~.~►mm~rlc ~~nd Compla'snt have bee~~ properl;~ served ~n C~~~anc~ra~; and Sungame;

      however, both Chandran and Sungame have failed to plead or otherwise defend in this

      action. Consequently, on May 29, 2015, following Plaintiff's Request for Default pursuant

      to Fed. R. Civ. P. 55(b)(1) the Clerk's Office entered an Entry of Default as to Chandran

      and Sungame. On June 22, 2015, Plaintiff filed the instant Motion for Default Judgment.

   4. As damages, Plaintiff is seeking to recover $150,000 from Chandran and Sungame. The

      total consists of $50,000 compensatory damages, and treble damages under the New Jersey

      Consumer Fraud Act.

   5. Because this Motion is unopposed, the Court will accept Plaintiff's allegations as true.

      Plaintiff alleged that he was solicited by Kloihofer, who offered to sale him 50

      '`Commander 3D Android Tablets" from his company, Sun~ame. These tablets were to be

      sold for $1000 each, but Plaintiff was to receive a 100% rebate of the purchase price. The

      terms were placed in writing and signed by Kloihofer. Sungame confirmed the terms of the

      transaction and made the promise in writing, including a promise that rebate checks for the

      full purchase price would be issued on or before March 30, 2014. Rokowsky purchased 50

      tablets for a total cost of $50,000. No rebate check was ever issued, nor were the tablets

      ever delivered. When Plaintiff attempted to contact Kloihofer and Sungame, Defendant
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      Chandran, an officer of Sungame, communicated to Plaintiff that the purchase money

      would be returned. Chandran also told Plaintiff not to challenge the credit card charges;

      relying on these representations, Plaintiff withdrew his earlier challenge to the purchase.

      However, no rebate was ever made, and the tablets were never delivered.

   6. "To state a cause of action under the [New Jersey Consumer Fraud Act] a plaintiff must

      allege: (1) an unlawful practice by the defendants; (2) an ascertainable loss by plaintiff;

      and (3) a causal nexus between the first two eler,ients~—defendants' aliegediy unlawful

      behavior and the plaintiffs ascertainable loss." Arcand v. Brother Intern. Corp., 673

      F.Supp.2d 282, 296 (DN.J. 2009)(quoting Parker v. Howmedica Osteonics Corp., Civ.

      No. 07-02400(JLL), 2008 WL 141628, at *2 (D.N.J. Jan.14, 2008)). Here, Defendants

      Sungame and Chandran solicited a paymentfrom Plaintiff by telling Plaintiffthat Sungame

      would sell him goods, and later persuaded hiin not to challenge this payment. This conduct

      was unlawful because it was fraudulent: the tablets were never delivered. As a result of

      Defendants' conduct, Plaintiff lost $50,000. This conduct, which was done in connection

      with the sale of merchandise as required by N.J. Stat. Ann. § 56:8-2, satisfies the

      requirements of the New Jersey Consumer Fraud Act. Based on this violation, Plaintiff is

      entitled to recover "threefold the damages sustained." N.J. Stat. Ann. 56:8-19.

   7. P[aintiffls remaining claims against Chandran and Sungame       common law fraud,"theft,"

      breach of contract, and breach of securities law, are alternative theories of liability for a

      single course of conduct and a single injury. Where a plaintiffls case concerns a single

      course of conduct . . . and a single injury" the Third Circuit has held that the Plaintiff

      should not "recover those profits twice or thrice over for each legal theory advanced in

      favor of liability." F'inenzan v. Armstrong World Indus., Inc., 980 F.2d 171, 218 (3d Cir.
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       ]992). Moreover, Plaintiff does not seek additional damages with respect to these claims.

        Accordingly,[need not address these claims further.

    8. Plaintiff has indicated to the Court that he has been unable to serve Defendant Kloihofer,

        but that Plaintiff is still attempting to effectuate service. Under Local Civil Rule 41.1, civil

       cases which have been pending for more than 120 days without any proceedings must be

       dismissed by the Court. Although 120 days have passed since the filing of the Complaint,

       the .court fines that Plaintiff is atterr~pting in gooc' iait~h to prosecute the claims against

       Kloiheffer, and will therefore give Plaintiff 30 days to effectuate service.

Accordingly, the Court having reviewed the submissions in connection with the Motion pursuant

to Fed. R. Civ. P. 78, for the reasons set forth herein, and for good cause shown,

       IT IS on this 29th day of July, 2015,

       ORDERED and ADJUDGED that Plaintiffls Motions for Default Judgment against

Defiendants Chandran and Sungame are GRANTED;

       ORDERED and ADJUDGED that Defendants Chandran and Sungame are jointly and

severally obliged to pay Plaintiff the total amount of $150,000 and judgment shall be entered

against each of them in that amount; and it is further

       ORDERED that Plaintiff is granted an extension of 3U days to serve process on Defendant

Kloihofer and file notice with the Court of such service.



                                                                       /s/ Freda L. Wolfson
                                                                       Hon. Freda L. Wolfson
                                                                       United States District Judge

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    Case 2:18-mc-00133-UA Document 1 Filed 09/25/18 Page 6 of 8 Page ID #:6
                                    Yitzchok Rokowskv
                                    575 Route 70, 2nd Floor
                                        P.O. Box 1030
                                       Brick, NJ 08723


                                                                               September 20, 2018
 VIA U.S. MAIL
 Clerk, U.S. Dist. Court, Central District of California
 Roybal Federal Bldg. and U.S. Courthouse
 255 East Temple Street
 Los Angeles, CA 90012-3332

 Re: Rokowsky v. Sungame, et al., 3:15-cv-02059 (FLVb')(LHG)

 Dear Clerk:

         I am the Plaintiff in this matter. I was awarded judgment in U.S. District Court, District
 of the New Jersey,jointly and severally in 2015 against two (2) defendants in this matter:(a)
 Sungame Corporation, and (b) Neil Chandran.

          Defendant Neil Chandran has a residence i.n Beverly Hills, CA (Los Angeles County)
 which lies in your district. I want to register this judgment from U.S. District Court(NJ)in your
 district (Central District of California). I was directed to submit the AO-451 form along with a
 certified copy of the judgment.

        I enclose herewith a Certified Copy of the judgment, along with a Clerk's Certification
(AO-451). I have also enclosed the miscellaneous filing fee of$47 for this matter, payable to the
 U.S. District Court. It is a bank check (not a personal check) of certified funds.

       Additionally, I have enclosed aself-addressed, stamped envelope and I request a
 conformed copy and receipt to be returned to me. Thank you.


                                       Very truly yours,

                                       /~ Yit~,chal~2akaw~cy

                                       Yitzchok Rokowsky

ALV/ms

/ends.(check, AO~51, cert. jdgmt.)




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